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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  ARIEL DAVIS, LACIE DAVIS, AND
  TAYLOR DAVIS, individually and on behalf
  of all others similarly situated,
                                                      Case No. 1:22-cv-05069
                       Plaintiffs,
                                                      Hon. LaShonda A. Hunt
        v.
                                                      Magistrate Sheila M. Finnegan
  E.L.F. COSMETICS, INC.,

                       Defendant.


                      STIPULATION OF VOLUNTARY DISMISSAL

       Plaintiffs Ariel Davis, Lacie Davis, and Taylor Davis (together “Plaintiffs”) initiated the

above-captioned action against Defendant e.l.f. Cosmetics, Inc. on September 16, 2022. Defendant

has not yet served an answer or filed a motion for summary judgment. Pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), Plaintiffs hereby voluntarily dismiss the above-captioned action with prejudice.

Dated: October 22, 2024                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        Nada Djordjevic certifies that she served the foregoing document on all counsel of record,
by this Court’s electronic-filing system, this 22nd day of October, 2024.



                                             /s/ Nada Djordjevic
                                             Nada Djordjevic




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